IN THE UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

In re: : Chapter ll
SEASONS CORPORATE, LLC, et al. : Case No. 18-45284 (NHL)

Debtor.

 

NOTICE OF APPEARANCE AND
REQUEST FOR SERVICE OF NOTICES AND PAPERS

PLEASE TAKE NOTICE that Duane Morris LLP hereby appears in the above-
referenced Chapter ll case as attorneys for BankUnited, N.A. and pursuant to Bankruptcy Rules
2002 and 9010(b) and § 1109(b) of the Bankruptcy Code, requests that copies of all notices and
pleadings given or filed in this case be given and served upon the following:

LaWrence J. Kotler, Esquire
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PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the
notices and papers referred to in the Bankruptcy Rules specified above, but also includes Without
limitation, any notice, application, complaint, demand, motion, petition, pleading or request,

Whether formal or informal, Written or oral, and Whether transmitted or conveyed by mail, delivery,

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telephone, telegraph, telex or otherwise filed or made with regard to the above-captioned case and
proceedings therein.

PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance nor any
subsequent appearance, pleading, claim, or suit is intended or shall be deemed to Waive
BankUnited, N.A.: (i) right to have final orders in non-core matters entered only after de novo
review by a higher court; (ii) right to trial by jury in any proceeding so triable herein or in any
case, controversy or proceeding related hereto; (iii) right to have the reference withdrawn in any
matter subject to mandatory or discretionary withdrawal; or (iv) other rights, claims, actions,
defenses, setoffs, or recoupments to which BankUnited, N.A. is or may be entitled under
agreements, in law, or in equity, all of which rights, claims, actions, defenses, setoffs, and

recoupments expressly are reserved.

Date: September 18, 2018 /s/ Lawrence l Kotler
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